Case 2:10-cv-01073-CW Document 809 Filed 09/06/24 PageID.16960 Page 1 of 5




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                 IN THE UNITED STATES JUDICIAL DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


KANE COUNTY, UTAH (2), (3) and (4),              KANE COUNTY, UTAH’S AND THE
a Utah political subdivision; and STATE OF        STATE OF UTAH’S PROPOSED
UTAH,                                              BRIEFING AND ARGUMENT
                                                          SCHEDULE
       Plaintiffs,
v.                                                     Case No. 2:10-cv-01073 CW

UNITED STATES OF AMERICA,                     (consolidated with 2:11-cv-1031, 2:12-cv-476)

       Defendant, and                                     Judge Clark Waddoups

SOUTHERN UTAH WILDERNESS
ALLIANCE, et al.,

      Intervenor-Defendants.
Case 2:10-cv-01073-CW Document 809 Filed 09/06/24 PageID.16961 Page 2 of 5




       Plaintiffs Kane County, Utah (“County”), and the State of Utah (“State”), respectfully

provide their Proposed Briefing and Argument Schedule in response to the Court’s Order to Set

Briefing and Argument Schedule [ECF No. 802] (“Order”).

       The Court’s Order directed the parties to (1) “confer and propose a schedule for summary

judgment briefing concerning title on the two additional Bellwether Roads, namely K6000

House Rock Valley Road and G9000 Hole-in-the-Rock Road.” Order, at 2. The Order further

directed the parties to inform the Court when they will be prepared to present (2) “oral argument

on the issue of title for the seventeen Bellwether Roads.” Id.

       The State and County, the Defendant United States, and Defendant-Intervenor Southern

Utah Wilderness Alliance, et al. (“SUWA”), have exchanged scheduling proposals, but were not

able to reach an agreement. The fundamental disagreement is that the United States would like to

defer further action in this matter until title and scope can be addressed at the same time. And, as

shown below, SUWA expects to file one or more motions regarding its participation as to scope

in this matter, potentially including a motion for a new trial.

       The United States’ and SUWA’s proposals will serve no purpose other than adding

unnecessary delays to the prompt and efficient resolution of this matter. As confirmed by the

Tenth Circuit:

       In Kane I this court ruled that the United States adequately represents SUWA's
       interest on the issue of title. 597 F.3d at 1135; accord Kane III, 928 F.3d at 894
       (“SUWA and the United States ha[ve] identical interests in the title determination
       . . . .”). Acknowledging our holding in Kane I, SUWA asserts that we still should
       allow it to intervene in Kane (2) on the issue of title. But Kane I binds this panel .
       . . and we agree with the reasoning of that opinion. We accordingly reject
       SUWA’s arguments asking us to overrule binding precedent, and we affirm the
       district court’s order denying SUWA intervention on the issue of title.

       Kane Cty. v. United States, 94 F.4th 1017, 1034-35 (10th Cir. 2024)



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Case 2:10-cv-01073-CW Document 809 Filed 09/06/24 PageID.16962 Page 3 of 5




        This Court has previously decided the question of title separate from the question of

scope and it can do so here. See Kane County, Utah v. United States, No. 2:08-cv-0315, 2011

WL 2489819 (D. Utah June 21, 2011) (deciding title to several roads and deferring the question

of scope).

        Prompt resolution of the question of title will not delay the ultimate resolution of the

scope of the rights-of-way and will further allow the parties to focus their efforts on determining

the scope of those rights-of-way for which title is confirmed. Accordingly, the State and County

propose the following schedule:

        1. Summary Judgment Briefing Schedule.

        The State and County (including Garfield County) will file their motions for

partial summary judgment as to title to the K6000 House Rock Valley Road and the

G9000 Hole-in-the-Rock Road on or before October 11, 2024.

        Subject to its objections to be filed with the Court, the United States has requested

up to and including January 10, 2025, to file its responses to the motions, and the State

and County do not oppose this deadline.

        The State and County (including Garfield County) will file their replies on or

before January 31, 2025.

        As stated below, SUWA would like to participate in this briefing. However, the

State and County object to SUWA’s participation because it has not been granted

intervention on the issue of title.




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Case 2:10-cv-01073-CW Document 809 Filed 09/06/24 PageID.16963 Page 4 of 5




       2. Oral Argument As To Title For The Remaining Bellwether Roads.

       The State and County believe that the Court can make its decision as to title for the

Bellwether Roads upon the facts and law already before the Court. Nevertheless, the State and

County can be prepared to present oral argument to the Court as soon as October 28, 2024.

       3. SUWA’s Position.

       On September 3, 2024, the Tenth Circuit Court of Appeals denied the pending petitions

for en banc review and the mandate allowing SUWA to appear as a defendant-intervenor as to

title is forthcoming. As an accommodation to SUWA, the State and County have agreed to

inform the Court of SUWA’s position regarding the proposed briefing schedule, which is:

       The question of SUWA’s participation should be addressed and resolved by the
       court, including participation rights in the Motion for Summary Judgment on the
       K6000 and the G9000, prior to final adjudication of the remaining 14 original
       Bellwether claims (excluding the K1410, which has been dismissed). As the
       Court’s August 13, 2024 Order made clear, now that the Tenth Circuit has denied
       en banc review of its March 4th, 2024 opinion regarding SUWA’s intervention
       status, SUWA must “have the opportunity to introduce evidence and participate
       on the issue of scope for all Bellwether roads.” ECF 795 at 3 n.2.

       Once the Court determines SUWA’s right to participate in the Motion for
       Summary Judgment on the K6000 and G9000, SUWA requests to file its
       Opposition on or before January 24, 2025 (or 14 days after the United States’
       deadline).

       SUWA further reserves all rights with regard to its participation in this case as an
       intervenor as of right, including but not limited to the right to file a motion for a
       new trial or to otherwise present evidence and make arguments regarding the
       scope of the 14 original Bellwether roads and the K6000 and G9000.




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Case 2:10-cv-01073-CW Document 809 Filed 09/06/24 PageID.16964 Page 5 of 5




        RESPECTFULLY SUBMITTED this 6th day of September 2024.

                                      HOLLAND & HART LLP

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